USCA Case #23-1173    Document #2070403              Filed: 08/16/2024     Page 1 of 20




             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued May 16, 2024                Decided August 16, 2024

                                   No. 23-1173

               INTERSTATE NATURAL GAS ASSOCIATION OF AMERICA,
                                PETITIONER

                                         v.

                  PIPELINE AND HAZARDOUS MATERIALS SAFETY
               ADMINISTRATION AND UNITED STATES DEPARTMENT OF
                               TRANSPORTATION,
                                RESPONDENTS


                       On Petition for Review of a Final Rule
                        of the Department of Transportation


                Sean Marotta argued the cause for petitioner. With him
            on the briefs were Catherine E. Stetson, Matthew J. Higgins,
            and Keenan Roarty.

                Brian J. Springer, Attorney, U.S. Department of Justice,
            argued the cause for respondents. With him on the brief were
            Brian M. Boynton, Principal Deputy Assistant Attorney
            General, Abby C. Wright, Attorney, Paula Lee, Senior Trial
            Attorney, U.S. Department of Transportation, and Jeremy T.
            Henowitz, Attorney, Pipeline and Hazardous Materials Safety
            Administration.
USCA Case #23-1173     Document #2070403              Filed: 08/16/2024       Page 2 of 20




                                          2
                Adrienne Y. Lee and Hana Vizcarra were on the brief for
            amicus curiae Pipeline Safety Trust in support of
            respondents.

                Before: WILKINS, WALKER and PAN, Circuit Judges.

                Opinion for the Court filed by Circuit Judge PAN.

                 PAN, Circuit Judge: The Pipeline and Hazardous
            Materials Safety Administration (“PHMSA”) regulates the
            safety of pipelines that transport natural gas and other
            potentially dangerous materials.         In 2022, PHMSA
            promulgated a long list of new and revised safety standards.
            A trade group that represents pipeline companies — the
            Interstate Natural Gas Association of America (“INGAA”) —
            challenges five of those standards, alleging flaws in the
            rulemaking process and inadequacies in PHMSA’s final
            justifications. With respect to four of the standards at issue,
            we agree with INGAA that the agency failed to adequately
            explain why the benefits of the final standards outweigh their
            costs, as required by 49 U.S.C. § 60102(b)(5). But we
            conclude that the agency properly promulgated the last
            challenged standard. We therefore grant the petition in part
            and deny it in part.

                                          I.

                                          A.

                 The Secretary of Transportation is required by statute to
            “prescribe minimum safety standards for pipeline
            transportation and for pipeline facilities.”      49 U.S.C.
            § 60102(a)(2). The Secretary has delegated that authority to
            PHMSA. Id. § 108(f); 49 C.F.R. § 1.97(a)(1).
USCA Case #23-1173     Document #2070403               Filed: 08/16/2024       Page 3 of 20




                                           3
                When prescribing pipeline-safety standards, PHMSA
            must follow certain procedures that are mandated by statute.
            The procedures “are more specific and still more demanding”
            than those required by the Administrative Procedure Act
            (“APA”), which PHMSA also must follow. GPA Midstream
            Ass’n v. Dep’t of Transp., 67 F.4th 1188, 1196–97 (D.C. Cir.
            2023).

                  To impose a new standard, PHMSA must publish two
            cost-benefit analyses: one when it first proposes the standard,
            and another when it finalizes the rule. See GPA Midstream,
            67 F.4th at 1197–98, 1200–01. The first cost-benefit analysis
            is part of the required “risk assessment,” 49 U.S.C.
            § 60102(b)(3), which the agency submits to “an advisory
            committee of experts for peer review, and to the public for
            comment.”1 GPA Midstream, 67 F.4th at 1192 (citing 49
            U.S.C. § 60102(b)(4)).      The advisory committee then
            provides a report on the proposed standard, which
            recommends adopting, rejecting, or changing it. See 49
            U.S.C. § 60115(c)(2). Before finalizing the rule, PHMSA
            must consider the advisory committee’s recommendation;
            “comments and information received from the public”; and
            other factors, such as the “reasonableness of the standard.”
            Id. § 60102(b)(2). In addition, PHMSA must again explicitly
            consider costs and benefits when issuing the final standard.
            Id. § 60102(b)(5) (“[T]he Secretary shall . . . issue a standard
            . . . only upon a reasoned determination that the benefits,

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                 There are two advisory committees: the Technical Pipeline
            Safety Standards Committee (also known as the Gas Pipeline
            Advisory Committee, or GPAC) and the Technical Hazardous
            Liquid Pipeline Safety Standards Committee. See 49 U.S.C.
            § 60102(b)(4)(A)(i); Pipeline Advisory Committees, PHMSA,
            https://perma.cc/4NNP-4Q3E (Nov. 7, 2023). GPAC is the
            relevant committee for the standards challenged here.
USCA Case #23-1173     Document #2070403                 Filed: 08/16/2024       Page 4 of 20




                                            4
            including safety and environmental benefits, of the intended
            standard justify its costs.”); see also id. § 60102(b)(2)(D), (E).

                                           B.

                 In August 2011, PHMSA issued an Advance Notice of
            Proposed Rulemaking to announce that the agency was
            “considering whether changes are needed to the regulations
            governing the safety of gas transmission pipelines.” J.A. 1–3.
            Nearly five years later, in April 2016, PHMSA published a
            Notice of Proposed Rulemaking (“NPRM”) that included a
            long list of proposed modifications to pipeline standards. In
            conjunction with its proposal, PHMSA published a report
            entitled “Preliminary Regulatory Impact Assessment,” id. at
            139, which in relevant part outlined the expected costs and
            benefits of the proposed standards. Members of the public —
            including petitioner INGAA — offered comments, and the
            advisory committee considered the standards and proposed
            some alterations.

                In August 2022, PHMSA published its final rule and a
            report entitled “Final Regulatory Impact Analysis” (“RIA”),
            J.A. 619, which analyzed the costs and benefits of the final
            standards. INGAA petitioned for reconsideration, noting its
            support for the final rule generally, but asking that PHMSA
            “reconsider several provisions.” Id. at 677. PHMSA largely
            denied that petition, with a few exceptions not relevant here.

                 INGAA now petitions this court for review, challenging
            five specific standards that were included in the final rule.
            The challenged standards and PHMSA’s justifications for
            adopting them are highly technical. We thus address each
            standard individually and in detail infra, in Section III of this
            opinion.
USCA Case #23-1173     Document #2070403               Filed: 08/16/2024       Page 5 of 20




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                                          II.

                 We have jurisdiction under 49 U.S.C. § 60119(a) to
            review final regulations prescribed by PHMSA. We review
            de novo whether the agency followed the procedural
            mandates of the APA, as well as those of the pipeline-specific
            statute, § 60102. See Sorenson Commc’ns Inc. v. FCC, 755
            F.3d 702, 706 (D.C. Cir. 2014); 49 U.S.C. § 60119(a)(3). On
            the merits of the final rule, we apply the familiar APA
            standard that requires us to determine whether the rule is
            “arbitrary, capricious, an abuse of discretion, or otherwise not
            in accordance with law.” 5 U.S.C. § 706(2)(A). But in this
            context, we defer to the agency’s decision only if it is
            “informed,” GPA Midstream, 67 F.4th at 1199, and PHMSA
            must make a “reasoned determination” that the benefits of the
            final standard justify the costs, 49 U.S.C. § 60102(b)(5)
            (emphasis added). Finally, the APA requires the agency to
            show that it “reasonably considered the relevant issues and
            reasonably explained the decision.” China Telecom (Ams.)
            Corp. v. FCC, 57 F.4th 256, 264 (D.C. Cir. 2022) (cleaned
            up).

                                          III.

                                          A.

                We grant INGAA’s petition for review as to four
            standards for which PHMSA failed to make “a reasoned
            determination that the benefits . . . justify [the] costs.” 49
            U.S.C. § 60102(b)(5). We refer to these standards as the
            high-frequency-ERW standard, the crack-MAOP standard,
            the dent-safety-factor standard, and the corrosive-constituent
USCA Case #23-1173     Document #2070403               Filed: 08/16/2024       Page 6 of 20




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            standard. We vacate each of these standards based on
            PHMSA’s inadequate final cost-benefit analyses.2

                1. High-Frequency-ERW Standard

                 Some pipes are manufactured through a process known
            as electric resistance welding (“ERW”). ERW involves
            forming a pipe by using an electric current to weld the edges
            of a piece of steel together to form a cylinder. See Fact
            Sheet:     Pipe     Manufacturing        Process,     PHMSA,
            https://perma.cc/JYD5-URFB (Dec. 1, 2011). Prior to 1970,
            this welding was achieved through the use of low-frequency
            currents. Id. But for the last several decades, the process has
            instead used high-frequency currents, which “produce[] a
            higher quality weld.” Id.

                Corrosion can lead to the thinning of pipe walls, known
            as “metal loss,” which can cause some pipes, including those
            formed by ERW, to split open at the seam (that is, the point
            where the steel is welded together). See Fact Sheet: Pipe
            Defects and Anomalies, PHMSA, https://perma.cc/4E9E-
            GZWG (Dec. 1, 2011). Prior to the instant rulemaking, the
            regulations addressed this concern by incorporating an
            industry standard known as ASME/ANSI B31.8S. See 49
            C.F.R. § 192.7(c)(6). That industry standard requires pipeline

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                 We thus need not opine on INGAA’s other challenges to these
            four standards, including that PHMSA failed to offer an adequate
            preliminary     cost-benefit    analysis  under    49     U.S.C.
            § 60102(b)(3)(B); violated the APA’s logical-outgrowth doctrine;
            and failed to consider recommendations from the advisory
            committee as required by § 60102(b)(2)(G). Cf. United States v.
            Philip Morris USA Inc., 566 F.3d 1095, 1118 (D.C. Cir. 2009)
            (“Because these challenges have no impact on the outcome of this
            appeal, we decline to address them.”).
USCA Case #23-1173     Document #2070403                Filed: 08/16/2024       Page 7 of 20




                                           7
            operators to immediately repair a pipe upon discovering metal
            loss along longitudinal seams formed by low-frequency ERW
            — but the standard does not mention pipes formed by high-
            frequency ERW.         See ASME/ANSI B31.8S at § 7.2.1
            (available at https://perma.cc/P66V-3C5K). By contrast, the
            final rule requires immediate repair where there is metal loss
            along a seam created by either high-frequency or low-
            frequency ERW, if the pipe is expected to fail at a certain
            pressure.         See    49    C.F.R.    §§ 192.714(d)(1)(iv),
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            192.933(d)(1)(iv).

                In justifying the final standard, PHMSA claimed that the
            standard “will not impose an additional cost burden on
            pipeline operators” because the regulations already required
            immediate repairs through their incorporation of
            ASME/ANSI B31.8S. J.A. 658–59. INGAA noted in its
            motion for reconsideration that the agency’s reliance on
            ASME/ANSI B31.8S did not justify immediate repair of
            pipes formed by high-frequency ERW. INGAA therefore
            asked PHMSA to exclude from the rule’s repair requirements
            any pipes formed by high-frequency ERW. But PHMSA
            denied the request. INGAA now challenges this standard as
            applied to pipes formed by high-frequency ERW.

                We vacate the high-frequency-ERW standard because
            PHMSA’s analysis of its costs is unsupported by the record.
            See 49 U.S.C. § 60102(b)(5) (requiring “a reasoned
            determination that the benefits . . . justify [the] costs”). The
            agency concluded that this standard simply “adopt[ed]
            requirements . . . referenced in ASME/ANSI B31.8S” and
            claimed that the standard therefore “will not impose an
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                 The regulation also applies to seams formed by other methods
            — known as direct current and electric flash welding — which are
            not at issue here.
USCA Case #23-1173    Document #2070403               Filed: 08/16/2024      Page 8 of 20




                                          8
            additional cost burden on pipeline operators since [the
            mandated repairs] are already required.” J.A. 658–59; see 49
            C.F.R. § 192.7(c)(6) (incorporating ASME/ANSI B31.8S by
            reference). But, as discussed, the pre-existing industry
            standard addressed seams formed by low-frequency ERW, but
            not those formed by high-frequency ERW. See ASME/ANSI
            B31.8S at § 7.2.1 (available at https://perma.cc/P66V-3C5K).
            Contrary to the agency’s assurances, the challenged standard
            imposes a new repair requirement with respect to high-
            frequency-ERW pipes. PHMSA did not recognize this
            requirement as new and therefore did not consider the costs it
            imposed.     Thus, the agency’s cost-benefit analysis is
            unsupported by the record and fails to demonstrate “a
            reasoned determination.” 49 U.S.C. § 60102(b)(5); cf. Motor
            Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm, 463 U.S. 29,
            43 (1983) (requiring a “rational connection between the facts
            found and the choice made” (cleaned up)).

                 On appeal, the agency argues that seams formed through
            high-frequency ERW face a high risk of failure. But that
            argument pertains only to the standard’s benefits — it
            supports the conclusion that the standard would reduce the
            risk of an accident. Without properly identifying the costs of
            the new standard, “it is not apparent just how the agency went
            about weighing the benefits against the costs.” GPA
            Midstream, 67 F.4th at 1200. We find unconvincing
            PHMSA’s contention that its discussion of ASME/ANSI
            B31.8S was “beside the point” because the agency just
            “‘clarif[ied] existing regulatory expectations.’” PHMSA Br.
            55–56 (alteration in original) (quoting J.A. 659). According
            to the agency’s contemporaneous explanation, the existing
            regulatory expectations were the requirements of
            ASME/ANSI B31.8S, which do not support the agency’s
            claim that no new costs will be incurred by pipeline operators
            under the high-frequency-ERW standard. See Dep’t of Com.
USCA Case #23-1173      Document #2070403                 Filed: 08/16/2024        Page 9 of 20




                                             9
            v. New York, 588 U.S. 752, 780 (2019) (“[I]n reviewing
            agency action, a court is ordinarily limited to evaluating the
            agency’s contemporaneous explanation in light of the existing
            administrative record.” (citations omitted)). Because the
            agency imposed a new safety requirement without properly
            addressing the costs of doing so, the standard cannot stand.4

                2. Crack-MAOP Standard

                 Another type of anomaly in a pipeline that can potentially
            cause failures is a crack — i.e., an opening or separation in
            the pipe wall. See Pipeline Glossary: Cracks, PHMSA,
            https://perma.cc/V7L8-VWKA (last visited July 31, 2024). In
            the NPRM, PHMSA proposed requiring immediate repair of
            “cracks or crack-like flaws” in certain circumstances,
            depending on the location of the crack, its depth, and its
            interaction with other cracks.

                 Separately, PHMSA proposed requiring operators to
            immediately repair any anomaly — crack, corrosion, dent,
            etc. — based on the pipeline’s “predicted failure pressure”
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                 As for remedy, the high-frequency-ERW standard is contained
            within a provision that also applies to longitudinal seams formed by
            other methods — “direct current, low-frequency . . . electric
            resistance welding, [or] electric flash welding.” 49 C.F.R.
            §§ 192.714(d)(1)(iv), 192.933(d)(1)(iv).         INGAA does not
            challenge the standard as applied to pipes formed by those other
            methods, and PHMSA’s reasoning is valid as to those methods
            because ASME/ANSI B31.8S did require repairs to those types of
            pipes prior to the present rulemaking. See ASME/ANSI B31.8S at
            § 7.2.1 (available at https://perma.cc/P66V-3C5K). Thus, as
            INGAA requests, we vacate 49 C.F.R. §§ 192.714(d)(1)(iv) and
            192.933(d)(1)(iv) only as applied to pipes formed by high-
            frequency electric resistance welding. See GPA Midstream, 67
            F.4th at 1201–02.
USCA Case #23-1173     Document #2070403                Filed: 08/16/2024        Page 10 of 20




                                            10
             (that is, the gas pressure at which the anomaly would cause
             the pipeline to burst or otherwise fail). J.A. 121. The
             proposed rule set the limit for the predicted failure pressure in
             relation to the maximum allowable operating pressure
             (“MAOP”). The MAOP is the maximum gas pressure at
             which an operator may lawfully operate a segment of a
             pipeline based on its material, design, and location. See 49
             C.F.R. §§ 192.3, 192.619. The proposed standard required
             operators to immediately repair any anomaly when the
             predicted failure pressure was less than or equal to 1.1-times
             the MAOP — in other words, when the pipe was expected to
             fail if faced with a gas pressure of 110% or less of the MAOP.
             PHMSA noted that the proposed standard was consistent with
             the pre-existing standard, stating that “PHMSA is not
             proposing to change this criterion.” J.A. 38.

                  But PHMSA adjusted its approach to cracks during the
             comment period. The final rule requires operators to
             immediately repair any crack or crack-like anomaly when its
             predicted failure pressure is less than 1.25-times the MAOP.
             49 C.F.R. §§ 192.714(d)(1)(v)(C), 192.933(d)(1)(v)(C).
             Thus, the threshold for repairing cracks was changed and
             operators must repair more cracks under the final rule than
             they would have repaired under the proposed rule: Under the
             final rule, operators must repair a crack when the expected
             failure pressure falls below 125% of the maximum allowed
             pressure, rather than below 110% of the maximum. This
             increases the burden on operators because, for example, under
             the final rule operators need to repair a cracked pipe that is
             expected to fail if the pressure reaches 115% of the MAOP,
             but operators would not have been required to make that
             repair under either the proposed or the pre-existing standard.

                 To justify this change, PHMSA explained that, for
             cracks, it believed that the proposed 1.1-times-MAOP
USCA Case #23-1173     Document #2070403                Filed: 08/16/2024        Page 11 of 20




                                            11
             standard “would not provide an adequate safety margin.” J.A.
             587; see also id. (“PHMSA has determined that this safety
             margin for immediate crack conditions is inadequate . . . .”).
             In denying INGAA’s petition for reconsideration as to this
             standard, PHMSA elaborated that the “more conservative
             MAOP-based threshold for immediate repair is appropriate to
             ensure adequate protection against crack anomaly failure for a
             number of reasons.” Id. at 708–09 (footnote omitted).

                  We conclude that PHMSA failed to provide a reasoned
             final cost-benefit analysis for this standard, as required by 49
             U.S.C. § 60102(b)(5). This time, the agency’s reasoning fails
             because it neglected to analyze the costs altogether. The
             agency should have considered the costs of changing the
             predicted failure pressure at which operators would be
             required to repair cracks and crack-like anomalies. The
             change was significant — 1.1-times the MAOP was the
             standard for all anomalies prior to this rulemaking and was
             included in the proposed rule, but the agency adopted a new
             threshold of 1.25-times the MAOP for cracks and crack-like
             anomalies. Without evaluating the costs of the change, the
             agency could not make “a reasoned determination that the
             benefits . . . justify [the] costs.” 49 U.S.C. § 60102(b)(5); see
             GPA Midstream, 67 F.4th at 1200.

                  PHMSA points to its statement in the RIA that “the final
             changes to § 192.933(d) addressing metal loss, stress
             corrosion cracking, and metal-loss affecting a detected
             longitudinal seam, and selective seam corrosion will not
             impose an additional cost burden on pipeline operators since
             they are already required.” J.A. 658–59. But the pipe
             anomalies discussed in that statement include only one type
             of crack (stress corrosion cracking) — the statement does not
             address the costs of the entire crack-MAOP standard, which
             applies to all cracks and crack-like anomalies. See 49 C.F.R.
USCA Case #23-1173     Document #2070403               Filed: 08/16/2024       Page 12 of 20




                                           12
             §§ 192.714(d)(1)(v)(C), 192.933(d)(1)(v)(C). In any event, to
             the extent the quoted statement from the RIA purports to
             apply to the crack-MAOP standard, it is inaccurate because
             the crack-MAOP standard did not adopt a mandate that was
             “already required,” J.A. 659 — rather, it increased the
             standard from 1.1-times MAOP to 1.25-times MAOP.

                  PHMSA falls back on an argument that it “was not
             obligated to consider the impact of the [crack-MAOP
             standard] separate from other elements of this rulemaking.”
             PHMSA Br. 51 (cleaned up). Elsewhere, it similarly argues
             that the statute “allows PHMSA to evaluate the aggregate
             effects of similar, mutually reinforcing regulatory
             provisions.” Id. at 35. We need not decide today the precise
             extent to which the agency must particularize its cost-benefit
             analyses, or the extent to which it can calculate the costs and
             benefits of related provisions together: Here, as explained,
             the agency did not calculate the costs of the final crack-
             MAOP standard at all. To the extent it did address the costs,
             the agency claimed the standard had none because it
             reiterated already existing requirements, which is contrary to
             the record.          We therefore vacate 49 C.F.R.
             §§ 192.714(d)(1)(v)(C) and 192.933(d)(1)(v)(C).

                 3. Dent-Safety-Factor Standard

                  The dent-safety-factor standard is one part of the
             agency’s approach to addressing dents in pipe walls.
             Depending on factors such as their location and depth, dents
             are subject to certain repair or monitoring requirements. For
             example, some dents require immediate repair, 49 C.F.R.
             § 192.933(d)(1)(ii), and others require repair within one year,
             id. § 192.933(d)(2)(i)–(iii). But operators can avoid or delay
             these repair requirements under the final rule based on an
             exception: If the operator performs an engineering analysis
USCA Case #23-1173     Document #2070403                Filed: 08/16/2024        Page 13 of 20




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             and ensures the pipe is not at risk of failure based on a
             measure known as “critical strain levels,” the normal dent-
             repair requirements do not apply. Id.

                  Section 192.712(c), which was not included in the
             proposed rule but was added to the final rule, spells out
             procedures that an operator must use as part of its engineering
             analysis when evaluating dents if the operator seeks to utilize
             the exception to the normal repair requirements. The dent-
             safety-factor standard is one part of these procedures and is
             used to measure “reassessment intervals.”            49 C.F.R.
             § 192.712(c)(9). If the engineering analysis relieves an
             operator of the duty to repair a dent at a particular time, the
             reassessment interval dictates when an operator must
             reexamine that dent to see if the condition has worsened. The
             dent-safety-factor standard requires operators to calculate the
             reassessment interval using two inputs. Operators start by
             estimating the “fatigue life,” i.e., how long it would take the
             dent to cause the pipeline to fail. See id. Then, the operators
             divide the fatigue life by a “safety factor” — a number set to
             provide a margin of error to ensure that the dent is reassessed
             prior to failure. See id. The final rule requires a safety factor
             of five or greater, meaning that, for example, a dent with a
             fatigue life of ten years would need to be reassessed within a
             maximum of two years: ten years (fatigue life) divided by five
             (safety factor). See id.

                  In the comment process, INGAA supported the adoption
             of a fatigue-life to safety-factor ratio, like the one adopted in
             the final rule; but INGAA proposed a safety factor of two
             rather than five. That would have resulted in reassessment
             intervals 2.5 times greater than that required by the final rule.
             In other words, if the fatigue life of a dent were ten years,
             INGAA supported a proposal that would have required
             reassessment after five years, instead of the final rule’s two
USCA Case #23-1173     Document #2070403               Filed: 08/16/2024       Page 14 of 20




                                           14
             years. After promulgating the final rule, PHMSA denied
             INGAA’s reconsideration petition as to this standard.

                 We must vacate the dent-safety-factor standard because
             the agency failed to analyze its costs: There is simply no
             discussion of the costs of this standard in the final rule or
             RIA. Thus, “it is not apparent just how the agency went
             about weighing the benefits against the costs,” and the
             standard cannot stand. See GPA Midstream, 67 F.4th at 1200.

                  The agency cites only its statement in the final rule that
             this standard provided “an adequate safety margin” and a
             footnote in the final rule referencing an industry publication
             that recommended a safety factor between two and five. J.A.
             588. That does little to explain why the agency adopted the
             top end of the range and, more importantly, does nothing to
             identify the costs of the standard.

                 Because we have determined that the dent-safety-factor
             standard, contained in 49 C.F.R. § 192.712(c)(9), is
             inadequately justified, we must address the parties’ further
             dispute over the appropriate remedy. INGAA asks us to
             vacate only that sub-provision, while leaving the remainder of
             § 192.712(c) intact. PHMSA, on the other hand, argues that
             if we vacate subsection (c)(9), we must vacate all of
             § 192.712(c).

                  We agree with PHMSA. “We will sever . . . a portion of
             an administrative regulation only when we can say without
             any substantial doubt that the agency would have adopted the
             severed portion on its own,” such as when the provisions
             “operate[] entirely independently of one another.” Am.
             Petrol. Inst. v. EPA, 862 F.3d 50, 71 (D.C. Cir. 2017)
             (cleaned up). Here, § 192.712(c) establishes a cohesive
             scheme under which an operator must “evaluate dents and
             other mechanical damage,” and its application allows an
USCA Case #23-1173      Document #2070403                Filed: 08/16/2024         Page 15 of 20




                                             15
             exception in circumstances where an operator otherwise
             would be required to more immediately repair the dent, see 49
             C.F.R. § 192.933(d)(1)–(3).            If we vacate only
             § 192.712(c)(9), an operator could avail itself of the exception
             without having to comply with the provision that “details
             when the next dent reassessment must take place.”5 Reply Br.
             14 (emphasis in original). Because we have “substantial
             doubt that the agency would have adopted” the exception
             without the reassessment-interval requirement in subsection
             (c)(9), we conclude that it is not severable from the remainder
             of the provision. Am. Petrol. Inst., 862 F.3d at 71 (cleaned
             up). We therefore vacate 49 C.F.R. § 192.712(c) in its
             entirety.

                 4. Corrosive-Constituent Standard

                  The corrosive-constituent standard is designed to require
             operators to monitor and prevent internal corrosion of
             pipeline walls. Prior to the present rulemaking, regulations
             focused on corrosive gas: They provided that pipeline
             operators must monitor and minimize internal corrosion “[i]f
             corrosive gas is being transported.” 49 C.F.R. § 192.477.
             Corrosive gas can cause the pipeline’s walls to corrode or
             thin, risking dangerous incidents such as ruptures. See
             Pipeline Safety: Internal Corrosion in Gas Transmission
             Pipelines, 65 Fed. Reg. 53,803, 53,803 (Sept. 5, 2000).

                 Concerned that those requirements were not specific
             enough, PHMSA proposed adding a new standard that would

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                  In such a circumstance, reassessment would instead be
             required in either seven or ten years, depending on the geographic
             location of the dent, as established by 49 C.F.R. § 192.712(h). But
             those timelines act as backstops and may be significantly longer
             than the reassessment interval calculated under § 192.712(c)(9).
USCA Case #23-1173      Document #2070403                Filed: 08/16/2024         Page 16 of 20




                                             16
             “require monitoring for deleterious gas stream constituents.”
             J.A. 92 (emphasis added) (discussing proposed 49 C.F.R.
             § 192.478). “Corrosive constituents,” such as carbon dioxide
             and water, may be harmless on their own but can create
             corrosive gas when combined with other substances.

                  Commenters objected to the breadth of the proposed
             standard and the advisory committee proposed limiting the
             rule “to the transportation of corrosive gas,” rather than
             corrosive constituents. J.A. 504 (emphasis added). In
             response, PHMSA narrowed its approach in the final rule:
             The final rule requires operators to “develop and implement a
             monitoring and mitigation program to mitigate the corrosive
             effects, as necessary”; it does not, like the proposed rule,
             expressly require operators to “identify potentially corrosive
             constituents in the gas being transported.” Compare 49
             C.F.R. § 192.478(a) (emphasis added) with J.A. 112.6

                 In justifying the final standard, PHMSA claimed that
             regulations promulgated by the Federal Energy Regulatory
             Commission already require some operators to monitor
             corrosive constituents, so the new standard “is not expected to
             add any incremental compliance activities or costs, but rather
             codifies existing practice into regulation.” J.A. 648. At the
             same time, “PHMSA acknowledge[d] that while there may be

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                   PHMSA asserts that the changes between the proposed and
             final rules sufficed to fully implement the advisory committee’s
             recommendation that the regulation only apply where corrosive gas
             is present. INGAA reads the final rule differently and believes the
             standard imposes obligations in some circumstances where
             corrosive constituents, but not corrosive gas, are present. We need
             not resolve this dispute over the precise meaning of the rule
             because we vacate the standard based on PHMSA’s insufficient
             final cost-benefit analysis.
USCA Case #23-1173     Document #2070403              Filed: 08/16/2024       Page 17 of 20




                                          17
             compliance costs,” it was difficult to precisely predict or
             calculate those costs. Id. at 650. As for benefits, the agency
             noted that there were nearly 150 incidents and $200 million in
             damages over a 12-year span caused by corrosion-related
             incidents. Id. at 652. Once again, PHMSA rejected
             INGAA’s petition for reconsideration of this final standard.

                  The final cost-benefit analysis of the corrosive-
             constituent standard was inadequate because PHMSA’s
             description of the costs was internally inconsistent. The
             agency stated first that the rule “is not expected to add any
             incremental compliance activities or costs,” J.A. 648; and
             then that “while there may be compliance costs, precisely
             how much those compliance costs are is hard to determine,”
             id. at 650. We thus cannot discern the agency’s reasoning:
             Does the standard impose no costs at all or does it impose
             some costs that cannot be calculated?           The agency’s
             explanation contradicts itself and thus fails to meet the
             requirement of a reasoned cost-benefit analysis. See 49
             U.S.C. § 60102(b)(5); cf. Nat. Res. Def. Council v. Nuclear
             Regul. Comm’n, 879 F.3d 1202, 1214 (D.C. Cir. 2018) (“[I]t
             would be arbitrary and capricious for the agency’s decision
             making to be internally inconsistent.” (cleaned up)).

                  PHMSA does little to reconcile this inconsistency on
             appeal. It restates its conflicting justifications, and claims
             that the second statement “did not override” the first one.
             PHMSA Br. 43 (quoting J.A. 648, 650). But we must rely on
             the agency record, which does not explain PHMSA’s
             reasoning, so this argument is unavailing. We thus vacate 49
             C.F.R. § 192.478.

                                          B.

                 We deny INGAA’s petition as to the last challenged
             standard, which we refer to as the pipeline-segment standard.
USCA Case #23-1173     Document #2070403               Filed: 08/16/2024        Page 18 of 20




                                           18
             INGAA challenges both the preliminary and final cost-benefit
             analyses of this standard based on a minor change in the
             language between the proposed and final rules. But PHMSA
             stated in the record that the revised wording does not
             implement any substantive change, and INGAA provides no
             reason to doubt the agency’s representations. Because the
             language-change arguments are the only ones that INGAA
             preserved and because those claims are unconvincing,
             INGAA’s challenge to the pipeline-segment standard fails.

                  The pipeline-segment standard addresses monitoring for
             “stress corrosion cracking” (“SCC”), which is a pipe anomaly
             that occurs when corrosion and high pressure (i.e., stress) lead
             to cracks. See Fact Sheet: Stress Corrosion Cracking,
             PHMSA, https://perma.cc/QLP7-TPUX (July 23, 2014); see
             also J.A. 63 (“SCC is cracking induced from the combined
             influence of tensile stress and a corrosive medium.”). One
             way to monitor pipelines for SCC is through “direct
             assessment” — i.e., excavating areas around a pipeline to
             directly examine sample portions of the pipe and surrounding
             soil. The NPRM proposed requiring a minimum of three
             excavations per “SCC segment” when operators conduct a
             direct assessment. J.A. 127. The proposed rule did not define
             “SCC segment.”

                 The final rule adopts the proposed standard with a minor
             tweak: It requires at least three excavations per “covered
             pipeline segment” — rather than per “SCC segment.” 49
             C.F.R. § 192.929(b)(3). The regulations define “covered
             pipeline segment” — as they did prior to the instant
             rulemaking — to mean “a segment of gas transmission
             pipeline located in a high consequence area,” id. § 192.903,
             and a covered pipeline segment’s “boundaries are determined
             by population density and other consequence factors,” J.A.
             582. The agency explained that “the final rule invokes certain
USCA Case #23-1173     Document #2070403               Filed: 08/16/2024       Page 19 of 20




                                           19
             consensus industry standards” that “[m]ost operators already
             successfully utilize,” so “the incremental cost . . . would be
             negligible.” Id. at 642. As for benefits, PHMSA recognized
             that the standard was not expected “to result, on [its] own, in
             measurable changes in the risk of pipeline releases, incidents
             or other quantifiable benefits,” but the agency pointed to the
             benefits of clarifying its expectations. Id.

                  In its petition for reconsideration, INGAA asserted that
             the change in terminology from “SCC segment” to “covered
             pipeline segment” could require pipeline operators to perform
             up to three times as many excavations. PHMSA disagreed
             and stated that there was no “substantive difference between
             the meaning of the proposed and final versions.” J.A. 720.

                  On appeal, INGAA persists in claiming that the change
             in wording imposes a significant burden on pipeline
             operators, and that PHMSA failed to evaluate the costs and
             benefits of that burden in either its preliminary or final
             analyses. It asserts that requiring three assessments per
             “covered pipeline segment” instead of per “SCC segment”
             “tripl[es] the number of excavations” that a pipeline operator
             must conduct. INGAA Br. 39. But PHMSA has never
             defined “SCC segment,” and INGAA provides no evidence
             other than its own representations that a single “SCC
             segment” could contain up to three “covered pipeline
             segments.” To the contrary, PHMSA indicated in the record
             that it viewed the two terms as interchangeable. At oral
             argument, INGAA’s counsel accepted that, if “SCC segment”
             and “covered pipeline segment” mean the same thing, it has
             no disagreement with the agency or the final rule.
             Accordingly, we take PHMSA at its word and interpret the
             final rule as substantively the same as the proposed rule with
             respect to the number of excavations required for a direct
             assessment. As a result, the parties agree to the number of
USCA Case #23-1173     Document #2070403               Filed: 08/16/2024       Page 20 of 20




                                           20
             excavations that are mandated; and INGAA’s challenges to
             both the preliminary and final cost-benefit analyses fall away.

                  To the extent INGAA mounts other attacks on the final
             cost-benefit analysis, such arguments are forfeited: INGAA’s
             petition for reconsideration focused only on the language
             modification. Thus, INGAA cannot now argue, for example,
             that PHMSA failed to conduct a cost-benefit analysis for
             conducting a set number of excavations. See Nuclear Energy
             Inst., Inc. v. EPA, 373 F.3d 1251, 1290 (D.C. Cir. 2004) (“As
             a general rule, claims not presented to the agency may not be
             made for the first time to a reviewing court.” (cleaned up));
             49 U.S.C. § 60119(a)(3) (“A judicial review of agency action
             under this section shall apply the standards of review
             established in [the APA].”).

                                       *   *    *

                 For the foregoing reasons, we grant the petition in part
             and deny it in part. We vacate 49 C.F.R. § 192.712(c) (the
             dent-safety-factor standard and related provisions); 49 C.F.R.
             §§ 192.714(d)(1)(v)(C) and 192.933(d)(1)(v)(C) (the crack-
             MAOP standard); and 49 C.F.R. § 192.478 (the corrosive-
             constituent standard).       We also vacate 49 C.F.R.
             §§ 192.714(d)(1)(iv) and 192.933(d)(1)(iv) (the high-
             frequency-ERW standard), but only as applied to seams
             formed by high-frequency electric resistance welding. We
             deny the petition as to 49 C.F.R. § 192.929(b)(3) (the
             pipeline-segment standard).

                                                                So ordered.
